Case 5:16-cv-10444-JEL-MKM ECF No. 984 filed 11/01/19   PageID.25616   Page 1 of 2




                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

      ORDER REGARDING DISCOVERY ISSUE ADDRESSED
       DURING OCTOBER 23, 2019 TELEPHONIC HEARING

       On October 23, 2019, the Court held a telephonic hearing to address

 VNA’s Interrogatory Requests to Co-Liaison Counsel Corey Stern’s

 bellwether plaintiffs. Pursuant to the Court’s order as set forth during

 that telephonic hearing, the Court hereby Orders as follows:

       1.    Co-Liaison Counsel is hereby ordered to provide verification

             pages for the interrogatory responses for all bellwether

             plaintiffs within ninety (90) days, on or before January 23,

             2020.

       2.    By December 2, 2019, Co-Liaison Counsel shall produce all

             responsive    documents    and    supplemental     interrogatory
Case 5:16-cv-10444-JEL-MKM ECF No. 984 filed 11/01/19   PageID.25617   Page 2 of 2




             responses to Interrogatory Nos. 1, 3, 4, 5, 6, 11, 14 and 18. The

             Court orders Co-Liaison Counsel to provide the identities of

             all caretakers, parents, and guardians or any other person

             responsible for the minor from birth to the date of filing and

             to identify the address where the minor claimant regularly

             drank tap water after April 25, 2014, such as daycares,

             schools, and homes. The Court denies the VNA Defendants’

             request   for   supplemental     or   amended     responses     to

             Interrogatory Nos. 2 and 7 and denies the VNA Defendants’

             request to amend the selection date for Pool 3 Bellwether

             Claimants.

 Dated: November 1, 2019                   s/Judith E. Levy
 Ann Arbor, Michigan                       JUDITH E. LEVY
                                           United States District Judge

                       CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
 ECF System to their respective email or First Class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on November 1, 2019.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager


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